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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


BEHNAM KAMVARI, D.M.D.,          )
                                 )
                Plaintiff,       )     CIVIL ACTION NO.
                                 )     13-12029-DPW
v.                               )
                                 )
PRESIDENT AND FELLOWS OF         )
HARVARD COLLEGE, and CYNTHIA     )
CARTER, M.D.,                    )
                                 )
                Defendants.      )


                          ORDER OF DISMISSAL


WOODLOCK, District Judge


     In accordance with this Court’s electronic Order of March

28, 2015, granting the defendants’ Motion to Dismiss the Amended

Complaint (Dkt. No. 18), it is hereby ORDERED that the above-

entitled action be, and it hereby is, DISMISSED in its entirety.


                                             BY THE COURT,

                                             /s/ Jarrett Lovett
                                             Deputy Clerk

DATED: March 30, 2015
